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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

--------------------------------------------------------x
In re:                                                  :
                                                        :   Chapter 13
         TRISTAN E INNISS                               :
                                                        :   Case No. 24-13576 (DJB)
                                          Debtor.       :
--------------------------------------------------------x

                              THE CITY OF PHILADELPHIA’S
                      OBJECTION TO THE PROPOSED CHAPTER 13 PLAN

TO THE HONORABLE DEREK J BAKER:

           AND NOW, comes the City of Philadelphia, (the “City”), a creditor in the above-captioned

case, by and through its Counsel, Pamela Elchert Thurmond, Senior Attorney, pursuant to Bankruptcy

Code §§ 1308(a), 1322(a)(2), and L.B.R. 3015-4, to object to the proposed Chapter 13 Plan (the

“Plan”), of the above-captioned debtor, (the “Debtor”). The City avers the following in support

thereof:

           1.     On October 4, 2024, the Debtor filed a voluntary petition (the “Petition”) for Chapter

13 bankruptcy with this Court.

           2.     On March 28, 2025, the City filed a claim that included unliquidated, non-filed

business tax returns for Business Income and Receipts Tax and Net Profit Tax for which the Debtor

was obligated to file returns but has failed to do so. A true and correct copy of the claim is attached

hereto as Exhibit A.

           3.     A portion of the unliquidated claim would be a priority claim pursuant to Section

507(a)(8) of the Bankruptcy Code.

           4.     As neither the Debtor nor another party in interest has objected to the Claim, it

is deemed allowed. See 11 U.S.C. § 502(a).
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        5.      As of March 31, 2025, the Debtor failed to file the following required tax returns with

the City of Philadelphia:

                Business Income and Receipts Tax return for the periods: 12/31/2021,
                12/31/2022 & 12/31/2023

                Net Profits Tax return for the periods: 12/31/2021, 12/31/2022 & 12/31/2023

        6.      The Plan should not be confirmed as the Debtor has failed to file all tax returns for all

taxable periods during the four (4) year period ending on the date the petition was filed. See 11 U.S.C.

§ 1308(a).

        7.      A proposed plan must “provide for the full payment . . . of all claims entitled to priority”

unless the claim holder agrees otherwise. See 11 U.S.C. § 1322(a)(2).

        8.      The Plan should not be confirmed until all returns are filed and all the taxes that

constitute priority tax claims under 11 U.S.C. § 507 are provided for in the plan. See 11 U.S.C.

§ 1322(a)(2).

        WHEREFORE, the City respectfully requests that this Court DENY confirmation of the Plan.

                                                 Respectfully submitted,

                                                 THE CITY OF PHILADELPHIA

Dated: April 1, 2025                     By:     /s/ Pamela Elchert Thurmond
                                                 PAMELA ELCHERT THURMOND
                                                 Senior Attorney
                                                 PA Attorney I.D. 202054
                                                 Attorney for the City of Philadelphia
                                                 City of Philadelphia Law Department
                                                 Municipal Services Building
                                                 1401 JFK Boulevard, 5th Floor
                                                 Philadelphia, PA 19102-1595
                                                 215-686-0508 (phone)
                                                 Email: Pamela.Thurmond@phila.gov




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                 IN THE UNITED STATES BANKRUPTCY COURT
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In re:                                                  :
                                                        :       Chapter 13
          TRISTAN E INNISS                              :
                                                        :       Case No. 24-13576 (DJB)
                                          Debtor.       :
--------------------------------------------------------x

                                   CERTIFICATE OF SERVICE

I, Pamela Elchert Thurmond, Senior Attorney, for the City of Philadelphia in the above-captioned
matter, hereby certify that on or before April 1, 2025, a copy of the Objection to the Proposed
Chapter 13 Plan was served on the following parties by Court-generated ECF notice, and/or I
served a copy by first class mail, postage prepaid, as indicated below, to the following addresses:

Via ECF Filing:
Debtor’s Counsel
BRAD J. SADEK
Sadek Law Offices, LLC
1500 JFK Boulevard –Suite 220
Philadelphia, PA 19102

Chapter 13 Trustee:
KENNETH E. WEST                                                 Office of United States Trustee
Office of the Chapter 13 Standing Trustee                       Robert N.C. Nix Federal Building
190 N. Independence Mall West –Suite 701                        900 Market Street –Suite 320
Philadelphia, PA 19106                                          Philadelphia, PA 19107

Via USPS Mail Delivery:
Tristan E Inniss
2836 W. Albert Street
Philadelphia, PA 19132-3113




                                                     Respectfully submitted,

Date: April 1, 2025                                  By: /s/ Pamela Elchert Thurmond
                                                     PAMELA ELCHERT THURMOND
                                                     Senior Attorney
                                                     PA Attorney I.D. 202054


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